Case 2:96-cV-02520-.]PI\/| Document 842 Filed 06/30/05 Page 1 of 3 Page|D 1628

also ev _,_?__ D_c_
IN THE uNI'rEn s'rA-r::s nls'rn:cc'r cotmT
ron mm wssTERN DISTRICT or TENNESSEE 05 .
wEs'rERN D:cvrs::oN JUN 30 PH 3' 15

 

uaw us. mgglc%m

DARIUS D. LITTLE, .
.W/D DF :z‘f, ?v§§;=ymg

Plaintiff,
v.

NO. 96~2520 Ml

SHELBY COUNTY, TENNESSEE,
et al.,

Dafendants.

xiv\_r\.d\-¢`.¢\.¢\.¢v*_¢v

 

ORDER OF CORRECTION

 

The Court hereby corrects the Order and Opinion Purging
Defendants of Contempt, filed on June 16, 2005, (Docket No. 836.), as
follows: (l) the word “procedures” appearing on the tenth line of
page seventeen shall be replaced with the word “procedure;” and (2)
the word “Documents” appearing On the twenty-fifth line of the Index
to Appendices shall be replaced with the word “documents.” The Court
has attached a corrected version of page seventeen and the Index to
Appendices of the June 16, 2005, Order and Opinion as Appendices A
and B respectively. The Clerk is hereby ORDERED to replace page
seventeen and the Index to Appendices of the June 16, 2005, Order and

Opinion with the corrected versions attached as Appendices A and B.

So ORDERED this(:§£kh day of June, 2005.

_ Q.m‘@QQ

JO P. MCCALLA
TED STATES DISTRICT JUDGE

 

T?\Is document entered on the docket sheet In compIiance
with ama 53 and!or 79(a) FRCP on '/’O

   

UNIED STATESDISTRIC COURT - WESERTN DITRICT 0 TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 842 in
case 2:96-CV-02520 Was distributed by faX, mail, or direct printing on
July 1, 2005 to the parties listed.

 

 

Financial Unit
FINANCIAL UNIT
167 N. Main St.
Room 242
1\/1emphis7 TN 38103

Murray B. Wells

HORNE GILLULY & WELLS, PLLC
81 Monroe Ave.

Ste. 400

1\/1emphis7 TN 38103

Kathleen Spruill

COUNTY ATTORNEY'S OFFICE
160 N. Main Street

Ste. 660

1\/1emphis7 TN 38103

Brian L. Kuhn

SHELBY COUNTY ATTORNEY'S OFFICE
160 N. Main Street

Ste. 660

1\/1emphis7 TN 38103

Robert L. Hutton
GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

1\/1emphis7 TN 38103

Arthur E. Horne

HORNE GILLULY & WELLS, PLLC
81 Monroe Ave.

Ste. 400

1\/1emphis7 TN 38103

Case 2:96-cV-02520-.]PI\/| Document 842 Filed 06/30/05 Page 3 of 3 Page|D 1630

Adam F. Glankler
GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

1\/1emphis7 TN 38103

Debra L. Fessenden

SHELBY COUNTY ATTORNEY'S OFFICE
160 N. Main Street

Ste. 660

1\/1emphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

